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                        EXHIBIT 8-B
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                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                             HOUSTON DIVISION

IN RE:                                                                              CHAPTER 11
Galleria 2425 Owner, LLC

DEBTOR(S)                                                                           CASE NO 23-34815-H5-11


                                      LIST OF EQUITY SECURITY HOLDERS

Registered Name of Holder of Security               Class of Security         Number Registered     Kind of Interest
Last Known Address or Place of Business                                                             Registered
Galleria 2425 JV LLC                                                                                Member 100%
6501 West Chester Ave
Houston, Texas 77005
Galleria West Loop Investments II, LLC                                                              100% of Galleria 2425
1001 West Loop South, Ste 700                                                                       JV LLC
Houston, Texas 77027

                                  DECLARATION UNDER PENALTY OF PERJURY
                                ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                        Manager                     of the                 Nonpublic Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.



Date: 01/10/2024                                     Signature: /s/ Ali Choudhri
                                                                Ali Choudhri, Manager
   Case 23-34815 Document 846-10 Filed in TXSB on 12/04/24 Page 3 of 5



CourtAlert® Case Management
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                                     U.S. Bankruptcy Court

                                    Southern District of Texas

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The following transaction was received from Reese W Baker entered on 1/10/2024 at 9:24 AM CST
and filed on 1/10/2024
Case Name:           Galleria 2425 Owner, LLC
Case Number:         23-34815
Document Number: 76

Docket Text:
Equity Security Holders (Filed By Galleria 2425 Owner, LLC ). (Baker, Reese)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:ListofEquitySecurityHolders-Galleria2425Owner,LLC.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=996787432 [Date=1/10/2024] [FileNumber=49893536-0
] [21f747f31c0fe8fe688e93eb35ac09b04aa30b2ea3d1943e8e4402ce069d6e954a4
75ad2c5a14d51b1cf70f10deca782beab581c4168a8b2abeace7731bd8a4f]]

23-34815 Notice will be electronically mailed to:

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ssociates.net;bakernotices@gmail.com;baker5151calendar@gmail.com;staff@bakerassociates.net;b
akerassociates@jubileebk.net

Reese W Baker on behalf of Plaintiff Galleria 2425 Owner LLC
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   Case 23-34815 Document 846-10 Filed in TXSB on 12/04/24 Page 4 of 5


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Stephen Wayne Sather on behalf of Creditor 2425 WL, LLC
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23-34815 Notice will not be electronically mailed to:

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